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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                    CASE NO.: 17-cv-23233-KMM


    FABIO PASSARELLI                 and    GIOVANNI
    SCARDINA,

             Plaintiffs,

    vs.

    COLUMBUS RESTAURANT, LLC d/b/a
    Columbus Restaurant, a Florida limited liability
    company, and PAOLO VANDRA, an
    individual,

          Defendants.
    ______________________________________/
           PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY FINAL JUDGMENT

           Plaintiffs,     FABIO    PASSARELLI         (“Passarelli”)    and    GIOVANNI         SCARDINA

   (“Scardina”)(together, “Plaintiffs”), by and through his undersigned counsel, hereby file their

   Motion for Partial Summary Final Judgment, and in support state:

                                                 OVERVIEW

           Plaintiffs, former tipped employees (bartenders and server) of Defendants, move for

   partial summary final judgment that: (1) Passarelli and Scardina were employees of Defendants

   throughout the entire time they worked for Defendants; (2) Passarelli is due minimum and

   overtime wages; (3) Defendant Vandra was an employer under the Fair Labor Standards Act

   (“FLSA”); (4) Defendants violated the record-keeping requirements of the FLSA; (5) Plaintiffs

   performed work for which they were improperly compensated; (6) Defendants acted willfully in




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   failing to properly compensate Plaintiffs; and (7) permit Plaintiffs to produce sufficient evidence

   at trial to show the amount and extent of that work as a matter of just and reasonable inference.

           Passarelli and Scardina were non-exempt employees who worked for Defendants at the

   Columbus Restaurant, located on Ocean Drive in Miami Beach. For an extended period of his

   employment, Passarelli was not paid any wages by Defendants, but was instead only worked for

   tips. Defendants exerted significant control over Plaintiff’s employment by dictating the dates

   and times of Plaintiff’s employment, specifying the manner in which he performed his work and

   regulating the amount that he could receive in tips. During his employment with Columbus

   Restaurant, Plaintiff did not work anywhere else and he was dependent upon Columbus

   Restaurant for his employment and only source of income.

           Passarelli seeks summary judgment that he was an employee of Defendants throughout

   the entire

           For the reasons set forth more fully below, it is respectfully requested that the Court grant

   the instant Motion and find that Plaintiff was an employee of Defendants.

                                RELEVANT PROCEDURAL HISTORY

           1.      On August 25, 2017, Plaintiffs filed their FLSA Complaint [DE 1].

           2.      On October 30, 2017, Defendants filed their Answer and Affirmative Defenses

   [DE 14].

           3.      Plaintiffs worked as non-exempt employees (server or bartender) for Defendants.

           4.      Passarelli, for a portion of his employment, claims he was paid no hourly wage at

   all. [DE 1, at ¶ 19].

           5.      Scardina claims that he was not paid for all the hours he worked. [DE 1, at ¶ 20].


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           6.      Scardina claims that he was not paid his final paycheck which included both

   hourly wages and tips. [DE 1, at ¶ 23].

           7.      Plaintiffs are seeking minimum wage and overtime compensation as per the

   FLSA from Defendants.

                            ARGUMENT AND MEMORANDUM OF LAW

                                             Standard of Review

           Summary judgment is authorized only when the moving party meets its burden of

   demonstrating that “the pleadings, depositions, answers to interrogatories and admissions on file,

   together with the affidavits, if any, show that there is no genuine issue as to any material fact and

   that the moving party is entitled to a judgment as a matter of law.” Fed. R. Civ. P. 56. When

   determining whether the moving party has met this burden, the court must view the evidence and

   all factual inferences in the light most favorable to the non-moving party. See Adickes v. S.H.

   Kress & Co., 398 U.S. 144, 157 (1970); Rojas v. Florida, 285 F.3d 1339, 1341-42 (11th Cir.

   2002). The party opposing the motion may not simply rest upon mere allegations or denials of

   the pleadings; after the moving party has met its burden of proving that no genuine issue of

   material fact exists, the non-moving party must make a sufficient showing to establish the

   existence of an essential element to that party’s case and on which that party will bear the burden

   of proof at trial. See Celotex Corp. v. Catrell, 477 U.S. 317 (1986); Poole v. Country Club of

   Columbus, Inc., 129 F.3d 551, 553 (11th Cir. 1997); Barfield v. Brierton, 883 F.2d 923, 933

   (11th Cir. 1989). See also Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986) (“[T]he

   dispute about a material fact is ‘genuine,’ . . . if the evidence is such that a reasonable jury could

   return a verdict for the nonmoving party.”).


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   A.      Plaintiffs Were Employees of Defendants

           During the relevant time period of this suit, Defendant Columbus Restaurant LLC admits

   Pasarelli was an employee under the FLSA. [DE 38-8, ¶ 3]. In addition, Defendant Columbus

   Restaurant LLC admits Scardina was an employee under the FLSA, also. [DE 38-9, ¶ 3].

           Accordingly, the Court should grant partial summary judgment to Passarelli and Scardina

   that they were employees of Columbus Restaurant LLC throughout the relevant time period of

   this suit.

   B.      Passarelli Is Due Minimum Wages and Overtime Wages

           Passarelli was paid no wages between September, 2015 and March, 2016. DE 38-11. He

   was not even given a paycheck but instead worked solely for tips. Id. He was only paid in cash.

   [DE 38-1, T. 52:8-53:4]. During this 28-week time period, Passarelli continued to work the same

   position (server) at Columbus Restaurant. He worked 970 hours according to Defendants’ time

   records which averages out to 34.6 hours per week without a paycheck.                         [DE 38-11].

   Accordingly, as a matter of law, Passarelli is owed his minimum and overtime wages.

           In addition, although Passarelli began receiving a paycheck again in April, 2016, he

   continued to receive no hourly wage for minimum or overtime hours worked. [DE 38-11].

   According to Defendants’ time records, during this period (April, 2016 through February, 2017)

   he worked 1,644.45 minimum wage hours and 180.07 overtime wage hours. Accordingly, as a

   matter of law, Passarelli is owed his minimum and overtime wages for this period, also.

   C.      Defendant Vandra was an Employer under the FLSA

           Throughout Plaintiffs’ employment, Defendant Paolo Vandra (“Vandra”) was an

   employer under the FLSA.


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           In Vandra’s Responses to Passarelli’s Request for Admissions:

           1.         Vandra admits he is an owner. [DE 38-6, at ¶ 24].

           2.         Vandra admits that he was involved in the day-to-day operations of the

                      restaurant. [Id., at ¶ 20].

           3.         Vandra admits he had responsibility for supervision of employees at the

                      restaurant. [Id. at ¶ 21].

           4.         Vandra admits he both hired and fired employees at the restaurant. [Id. at ¶ 22].

           5.         Vandra admits he exercised control over the business and financial affairs of

                      the company. [Id. at ¶ 23].

        “Under the FLSA, the term ‘employer’ includes ‘any person acting directly or indirectly in

   the interest of an employer in relation to an employee.’ 29 U.S.C. § 203(d).” Perez v. Palermo

   Seafood, Inc., 548 F.Supp.2d 1340, 1346 (S.D.Fla. 2008). “’The overwhelming weight of

   authority is that a corporate officer with operational control of a corporation’s covered enterprise

   is an employer along with the corporation, jointly and severally liable under the FLSA for unpaid

   wages.’” Id.¸ quoting Patel v. Wargo, 803 F.2d 632, 637-38 (11th Cir.1986) (citing Donovan v.

   Agnew, 712 F.2d 1509, 1511 (1st Cir.1983)).

           Therefore, Defendant Paolo Vandra is an employer under the FLSA. Accordingly, the

   Court should grant partial summary judgment to Passarelli and Scardina that they were

   employees of Paolo Vandra throughout the relevant time period of this suit.

   D.      Defendants Violated The Record-Keeping Requirements Of The FLSA

           Under the FLSA, every employer is required to make, keep, and preserve records of its

   employees and of the wages, hours and other practices of employment it maintains. See 29 CFR


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   § 516.2 (A) & (B); 29 U.S.C. §§ 207(a), 211(c), 216(b). The function of keeping the records is a

   primary duty of an employer. See 29 CFR § 516.2 (A) & (B); see also Wirtz v. Mississippi

   Publishers Corp., 364 F.2d 603 (5th Cir. 1966). The burden to keep such records is not on the

   employee. See 29 CFR § 516.2 (A) & (B); Goldenberg v. Kirstein Leather Co., 209 F. Supp.

   703 (D. Mass. 1962).

             As the Supreme Court held in Anderson v. Mt. Clemens Pottery Co., 328 U.S. 680

   (1946):

                    Where the employer's records are inaccurate or inadequate …,
                    we hold that an employee has carried out his burden if he
                    proves that he has in fact performed work for which he was
                    improperly compensated and if he produces sufficient evidence
                    to show the amount and extent of that work as a matter of just
                    and reasonable inference. The burden then shifts to the employer
                    to come forward with evidence of the precise amount of work
                    performed or with evidence to negative the reasonableness of the
                    inference to be drawn from the employee's evidence. If the
                    employer fails to produce such evidence, the court may then award
                    damages to the employee, even though the result be only
                    approximate.

   Id. at 687–88 (emphasis added). In addition, an employer's record-keeping practices may

   corroborate an employee's claims that the employer acted willfully in failing to compensate the

   employee for overtime. See Elwell v. University Hospitals Home Care Services, 276 F.3d 832

   (6th Cir. 2002).

             “Thus, at summary judgment, if an employer's records are inaccurate or inadequate, an

   employee need only present sufficient evidence to show the amount and extent of the

   uncompensated work as a matter of just and reasonable inference[.]” Kuebel v. Black & Decker

   Inc., 643 F.3d 352, 362 (2d Cir. 2011); citing Anderson v. Mt. Clemens Pottery Co., 328 U.S.

   680 (1946). See also Jeong Woo Kim v. 511 E. 5TH St., LLC, 133 F. Supp. 3d 654, 659

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   (S.D.N.Y. 2015)(granting plaintiff summary judgment as to amount of overtime worked due to

   employer’s inaccurate records). “’Where the inaccuracy [of records] is due to the employer’s

   failure to keep adequate records as required by statute, and the employee has demonstrated that

   some work was performed for which he was improperly compensated, there is a right to

   recovery, even though the amount may be uncertain and damages difficult to calculate.’” Perez

   v. Palermo Seafood, Inc., 548 F.Supp.2d 1340, 1347 (S.D.Fla. 2008), quoting Leonard v.

   Carmichael Props. & Mgmt. Co., 614 F.Supp. 1182, 1186 (S.D.Fla.1980). Mr. Scardina, for

   example, has testified that he was not paid for an average of ten hours work every two weeks

   [DE 38-5, T. 36:24-25], and was not paid for his last week’s paycheck (wages and tips) at all

   [Id., T. 95:23-96:2].

           In the instant case, Defendants’ records are clearly inaccurate and are not corroborated by

   the paychecks. A review of Defendants’ time and pay records [DE 38-11, 38-12], along with the

   declaration of a former managing partner [DE 38-7], prove that Defendants regularly and

   knowingly violated the record-keeping requirements of the FLSA.                    According to former

   managing partner Arturo Simeone, who was a childhood friend of Defendant Vandra [DE 38-3,

   T.8:10-11], Passarelli himself complained to Simeone about his hours [DE 38-7, ¶ 7; DE 38-10,

   ¶ 13], Simeone examined the records and found them inaccurate [Id.], and Simeone ordered the

   general manager to pay Passarelli for these hours [Id.]. Simeone personally witnessed the

   general manager changing employees’ hours. [Id., ¶ 5]. Passarelli has witnessed this also. [DE

   38-4, T. 125:23-126:8]. Simeone himself corrected hours incorrectly revised by the general

   manager. [Id., ¶ 6]. Simeone also stated that during periods in which Defendant Vandra was the

   managing partner, “the employees’ time worked was not accurate.” [Id., ¶ 12]. Defendant Vandra


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   himself does not know if the restaurant is in compliance with the law but relies on the general

   manager. [DE 38-3, T. 47:4-7.]

           Indeed, a review of records submitted by Defendants shows that the hours worked and

   hours paid were not accurate. [See DE 38-11: Composite Exhibit-Passarelli Time and Pay

   Record Comparison; DE 38-12: Composite Exhibit-Scardina Time and Pay Record

   Comparison]. Notably, these were not simple “rounding errors.” These records conclusively

   show that there was virtually no correlation between the time clocked and the pay paid for the

   vast majority of weeks worked. For example, for the two weeks ending 6/30/15, the time clock

   records show Passarelli working 63.42 hours, but his paycheck shows him working and being

   paid for only 44.62 hours. For the two weeks ending 7/14/15, the time clock records show 74.34

   hours, but the paycheck shows him working and being paid for only 52.11 hours. For the two

   weeks ending 9/08/15, the clocked time was 77.57 hours, but the paid time was only 40.42 hours.

   Again, from 9/22/15 to 3/22/16, Passarelli worked every week but received no paycheck at all.

           Scardina’s records [DE 38-12] show the same pattern of arbitrary and inaccurate

   recording of his hours worked. From his first paycheck ending 1/13/15 (time records: 33.47

   overtime hours, pay records: 21.0 overtime hours) to his last paycheck ending 5/16/17 (time

   records: 22.18 overtime hours, pay records: 0.00 overtime hours), Scardina’s hours paid, like

   Passarelli’s, rarely show any relationship to their hours worked as shown on Defendants’ time

   records.

           The Defendants acted willfully in failing to pay Plaintiffs accurately as to their hours

   worked. Not only are the weekly time records inaccurate, which is prima facie evidence of

   willfulness, the record evidence shows that Defendants must have known they weren’t accurate.


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   According to the testimony of the corporate representative, Cristian Azzariti, who is also the

   general manager of the restaurant, every payroll period Mr. Azzariti would review the weekly

   time records with the bookkeeper, and after reviewing he would approve and send these reports

   to ADP for the production of the paychecks. [DE 38-1, T. 67:11-68:22]. The company had full

   knowledge of the time records and the time recorded on Plaintiffs’ paychecks. Thus, the

   Defendants’ actions in failing to pay Plaintiffs accurately were knowing and willful.

           Accordingly, the Court should: (i) find that Defendants violated their record keeping

   obligations; (ii) deem Defendants’ records inaccurate; (iii) find that Plaintiffs performed work for

   which they were improperly compensated; (iv) find that Defendants acted willfully in failing to

   properly compensate Plaintiffs; and (v) permit Plaintiffs to produce “sufficient evidence to show

   the amount and extent of that work as a matter of just and reasonable inference.” Anderson, 328

   U.S.at 687.

           WHEREFORE, Plaintiffs respectfully request that the Court grant the instant Motion in

   its entirety, enter an Order granting Plaintiffs partial summary final judgment that (1) Passarelli

   was an employee of Defendants throughout the entire time he worked for Defendants; (2)

   Passarelli is due minimum and overtime wages; (3) Defendant Vandra was an employer under

   the Fair Labor Standards Act (“FLSA”); (4) Defendants violated the record-keeping

   requirements of the FLSA; (6) Plaintiffs performed work for which they were improperly

   compensated; (7) Defendants acted willfully in failing to properly compensate Plaintiffs; and (8)

   permit Plaintiffs to produce “sufficient evidence to show the amount and extent of that work as a

   matter of just and reasonable inference.” Anderson, 328 U.S.at 687., and grant such other and

   further relief as is just and proper.


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           Respectfully Submitted, July 6, 2018,

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                                      CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on July 6, 2018, I electronically filed the foregoing
   document via CM/ECF which will automatically send a copy to all counsel of record.
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